                     Case 3:07-cv-01692-ST                 Document 1       Filed 11/13/07     Page 1 of 13



       John D. Parsons OSB # 92423
           Mail:iparsonsrq)pfglaw. com
       Charles J. Paternoster    OSB # 024186
         Mail: cpatemoster(~pfglaw. com
       PARSONS FARNELL & GREIN , LLP
       1030 SW Morrison Street
       Portland , Oregon 97205
       Telephone: (503) 222- 1812
       Facsimile: (503) 274- 7979
       Of Attomeys for Defendant Senvoy, LLC



                                              IN THE UNITED STATES DISTRICT COURT

                                                         DISTRICT OF OREGON



         SUMNER P. W                                                                      Case No.
                               Plaintiff                                         NOTICE OF REMOVAL



         SENVOY, LLC,

                              Defendant.



                   TO THE CLERK OF THE COURT:

                   PLEASE TAKE NOTICE that , pursuant to 28 USC 99                                   , Defendant
       Senvoy, LLC, hereby removes to this Court the case now pending in Multnomah County Circuit

       Court as      Sumner P. Walters v.                         Case No. 0710- 11790.

                   As grounds for removal , Defendant Senvoy, LLC states as follows:

                              On October 15         2007 , plaintiff Sumner P. Walters filed a complaint in this action

       in Multnomah County Circuit Court entitled                 Sumner P. Walters v. Senvoy, LLC Case No. 0710-

       11790. Pursuant to 28 USC 9 1446(a), a                                    , pleadings , and orders served upon

       and/or provided to the defendant at the time of removal , consisting of (1) summons , (2)



Page   1 - NOTICE OF REMOVAL
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                Case 3:07-cv-01692-ST            Document 1       Filed 11/13/07     Page 2 of 13



     complaint , (3) request for production with correspondence from plaintiff's attomey, (4) proof of

     service with correspondence from plaintiff's attomey, are attached as Exhibits 1-

                         This Notice of Removal is timely filed under 28 USC 9 1446(b), which provides

     that a notice of removal must be filed within 30 days after a defendant receives , by service or

     otherwise , the initial pleading. As                                                  , defendant had

     been served with process and/or otherwise provided with a copy of a summons and complaint.

     This action was filed on October 15 2007 , and the earliest defendant was provided with a copy

     of the complaint was October 15 2007.

                         No further proceedings have been had in the Circuit Court of Multnomah County,

     Oregon , as of the date of filing of this removal.

                         This is a civil action over which this court has original jurisdiction pursuant to 28

     USC 9 1331. This action may be removed pursuant to

     claims asserted in this action arise under federal statutes , specifically the Fair Labor Standards

     Act , 29 USC 9 201 et seq.

     REMOV AL TO THIS

                         Pursuant to 28 USC 99 1331 1441 , and 1446 , removal of the above-captioned

     state court action to this Court is appropriate.

                         Pursuant to 28 USC 9 1441(a), removal is made to this Court as the district and

     division embracing the place where the state action is pending.

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Page 2
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                Case 3:07-cv-01692-ST                 Document 1        Filed 11/13/07   Page 3 of 13



                            Defendant Senvoy, LLC , is providing to the plaintiff, through his counsel , written

     notice of the filing of this Notice of Removal. Furthermore , Defendant Senvoy, LLC is filing a

     copy of this Notice of Removal with the Clerk of the Circuit court of Multnomah County,

     Oregon , where the action is currently pending.

               DATED this          I -SG"'""% y   of November , 2007.

                                                           PARSONS FARNELL & GREIN , LLP



                                                           By:
                                                                 Jo      1J      , OSB #92423
                                                                 E- jparsonsreypfglaw. com
                                                                 Charles J. Patemoster , OSB # 024186
                                                                   Mail: cpaternoster~pfglaw. com
                                                                 Telephone No. : 503- 222- 1812
                                                                 Facsimile No. : 503- 274- 7979
                                                                 Of Attomeys for Defendant Senvoy, LLC




Page 3
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                               IN THE CIRCUIT COURT OF THE STATE OF OREGON


-vs-
  , LLC
SUMNER P. WALTERS
    Plaintiff

 Defendant.
SENVOY
       To: DAVID E GREIN , RA, SENVOY, LLC
                                               FOR MUL TNOMAH COUNTY

                                                                                                        No.
                                                                                                       SUMMONS
                                                                                                                                                                    , J         71' /



   1030 SW MORRISON, PORTLAND
     You are hereby required to
filed against you in the above entitled action wi
days from the date of service of
of your failure to do                      , plaintiff
to the court for the relief demanded in the
NOTICE TO THE DEFENDANT:              READ THESE PAPERS CAREFULLY!
            You must " appear " in this case
or the other side will win automatically.
To " appear "      you must file with the court ct              Attorney for Plaintiff
legal paper called a " motion " or " answer.
The " motion "
             or " answer " must be given to                     ANN B. WITTE                                    OSB*77077
the court clerk or administrator within                        Attorney         s Name (printed) Bar No,
30 days along with the required filing fee.
It mus t be in
service on the plaintiff' s attorney or,       Addres s
if the plaintiff does not have an attorney,
proof of service upon the plaintiff. -- PORTLAND , OREGON 97205                                                                   (503) 223-6066
        If you have any questions , you       City                                                           State                          Zip                                    Phone
should see an attorney immediately.               I f you                                                                                                           .e..",C
                                                                                                   4.~;.."
need help finding an attorney, you may c~ll                                                                                                                                                 the
Oregon State Bar s Lawyer Referral Trial''''tt9nl. ey                  (ff other than above)
Service at           3763 or toll-free in
Oregon at

State of Oregon , County of Mul
     I, the undersigned attorney of record for the
certify that the foregoing is an
original summons in the above entitled action.


                                                   At.tc5rney of

TO THE OFFICER OR OTHER PERSON SERVING THIS SUMMONS: You are hereby directed to serve a true copy
this summons, together with a true copy of thecoD1Plaint mentioned therein, upon the
other legal entity(ies) to whom this summons is directed , and to make your proof of service on a
separate document which you shall attach hereto.



                                                  A:ttcfmey f r P                        Iff

                                        ANN BERRYHILL WITTE, Attorney at Law
                                               812 SW Washington, #910
                                               Portland, Oregon 97205
                                                         (503) 223- 6066


                                                                                                                                                                EXHIBIT

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   Case 3:07-cv-01692-ST          Document 1 Filed 11/13/07             Page 5 of 13
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                     IN THE CIRCUIT COURT OF THE STA+~R ~6T~ga5~C0UIH
                                    FOR MUL TNOMAH COUNTY".'
                                                                                        11790
7 SUMNER                                                          No.
         Plaintiff                                                COMPLAINT (Wages)
  -vs-
  SENVOY , LLC                                                OVER $10 000
       Defendant.                                             ARBITRATION ELIGIBLE

         Common Allegations:


         Between Oct. 3 , 2005 and March 6 2007 , Defendant has been engaged
  delivery business , operating a dispatch office at 1215 SE 8th Ave. , and later at 115 SE Yamhill

  St. , Portland , Multnomah County, Oregon.
 during that time. At the time Plaintiff was hired , he agreed to a wage of $7. 25 per hour. The
 wage increased to $7. 50    on Jan. 1   , 2006 , and to $7. 80   on Jan. 1    , 2007.


         Plaintiff was required to drive his own vehicle to pick up and deliver parcels. Senvoy
 agent agreed                                                                                                , Senvoy s agent
 agreed to pay Plaintiff a commission of 50% of each delivery fee.


         During the entire time Plaintiff was employed by Defendant , Defendant did not keep accurate

 records of Plaintiff' s hours of work and did not pay Plaintiff minimum wages and overtime wages as

 required by Oregon law , or commissions as promised..

 652. 200(2) and ORS 653. 055(4).

                            ANN BERRYHILL WITTE, Attorney at Law
                                   812 SW Washington, #910
                                   Portland, Oregon 97205
                                        (503) 223-6066


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      Case 3:07-cv-01692-ST            Document 1         Filed 11/13/07   Page 6 of 13




            Plaintiff caused a demand letter to be sent                                        2007 , and
     Defendant paid some wages , in the amount of $592. 80 on March 14 , 2007.
     has not paid the remainder of wages due , or any penalty wages.
            For his first claim for relief , Plaintiff alleges:



           Defendant failed to pay $11 952. 88 in state-required minimum wages. Plaintiff is
     entitled to penalty wages of $1 872. 00 in addition to his unpaid minimum wages.
           For his second claim for relief , Plaintiff alleges:


           Defendant failed to pay Plaintiff $1 218. 92 in state-required overtime wages. Plaintiff
12                                            872. 00 in addition to his unpaid overtime wages.
           For a third claim for relief , Plaintiff alleges:


           When Plaintiff was discharged from employment on March 6 , 2007 , Defendant did
16

           Plaintiff is entitled to penalty wages of $1 872. 00 for failure to pay upon discharge.
           For his fourth claim for relief , Plaintiff alleges further:


           During the time Plaintiff worked for Defendant , Defendant failed to pay commissions
22                            000. 00 to which Plaintiff is entitled.
           For his fifth claim for relief , Plaintiff alleges further:

                                                           10.
           During the time Plaintiff worked for Defendant , Defendant failed to pay federal-


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      Case 3:07-cv-01692-ST         Document 1        Filed 11/13/07         Page 7 of 13



     required minimum wages.                                             213. 18
     and Plaintiff is also entitled to liquidated damages of $5 213. 18.
            For his sixth claim for relief , Plaintiff alleges further:

                                                        11.
            During 2006 and 2007 , Defendant failed to pay Plaintiff federal-required overtime
     pay in the amount of $1 218. 92. Plaintiff
     damages of $1 218. 92.

            For his seventh claim for relief , Plaintiff alleges further:

                                                        12.
            On or about March 5 , 2007 , Defendant employed 25 or more persons in the State of
11 Oregon

12           , 2007 , Plaintiff gave oral notice to Defendant's agent that he was unable to come
13
                                                        13.
           Defendant then and there committed the unlawful employment practice of refusing
16                                                               , and terminated Plaintiff' s contract of
17
18
           Wherefore , Plaintiffs pray for judgment against Defendant as follows:
           1. On his first claim , $11 952. 88     plus $1    872. 00;
           2. On                      , $1 218. 92    plus $1    872. 00 ;
           3. On his               , $1 872. 00;
           4. On                     , $10 000. 00;
           5. On his              , $5 213. 18 plus $5 213. 18;

           6. On                   , $1 218. 92    plus $1    218. 92;

                                ANN BERRYHILL WITTE, Attorney at Law
                                       812 SW Washington, #910
                                       Portland, Oregon 97205
                                            (503) 223-6066

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Case 3:07-cv-01692-ST    Document 1     Filed 11/13/07   Page 8 of 13



     7. On his seventh claim , reinstatement with back
     8. Costs and disbursements
                                                         ttorney fees.
     Dated:October 15 , 2007

                                                         ~e..__._-,_._.,,,,,.._.,,..._,,-_.

                                        --- l1on-B: Witte , OSB #77077
                                             Attorney for Plaintiffs




                      ANN BERRYHILL WITTE, Attorney at Law
                             812 SW Washington, #910
                              Portland, Oregon 97205
                                  (503) 223-6066


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   Case 3:07-cv-01692-ST       Document 1         Filed 11/13/07         Page 9 of 13
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                     IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                  FOR MUL TNOMAH COUNTY
3 SUMNER                                                        No. 0710- 11790
         Plaintiff                                              REQUEST FOR PRODUCTION
  -vs-
  SENVOY , LLC
       Defendant.

         TO: Senvoy, LLC ,   through your attorney, John D. Parsons:
         Pursuant to ORCP 43 , defendant requests that plaintiff
  copying, by Nov. 26 , 2007 , at the offices of ANN BERRYHILL WITTE , 812 SW Washington
  #910 , Portland , OR 97205 , the documents set forth below.
         1. Any written employment contract between the parties; or written
         2. Record of payments by                                , including copies of all checks , all
  calculations of amounts to be paid and deductions therefrom , and particularly including all
  calculations of mileage reimbursements and commissions.
         3. Documents

  determine the employee s qualification for employment , promotion , additional compensation
  or employment termination or other disciplinary action.
        4. All                                              , The actual hours worked each week
  and each pay period by Plaintiff
         Dated: November 6 2006                                        (~C
                                                                             I... ..2


                                                      Ann B.Wiffe , OSB# 77077
                                                      812' SWWashington , #910
                                                      Portland , OR 97205
                                                      (503) 223- 6066
                                                      Fax: (503) 223- 0903




                             ANN BERRYHILL WITTE, Attorney at Law
                                    812 SW Washington, #910
                                     Portland, Oregon 97205                                RECEf\JE' '
                                         (503)      223-6066
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             Case 3:07-cv-01692-ST        Document 1       Filed 11/13/07     Page 10 of 13                    6 ?           ::)/;Z




                                                                    ANN BERRYHill WITTE ,
                                                                                        Attorney at law
                                                                               812 SW Washington , #910
                                                                                     Portland , Or 97205
                                                                                         (503) 223-6066
                                                                                    Fax: (503) 223- 0903
                          )L
I\.;\.' \1
~t()ber:~2 , 2007
John D. Parsons
1030 SW Morrison St.                                                                 Nav = 7
Portland , Or 97205
                                                                              PARSONS FAI'!NELL & GHEiN ,   LL1l1
             Re: Walters v. Senvoy, LLC

Dear Mr. Parsons

             Because of the length of time Mr. Walters worked for
voluminous. I am
enclose a copy of our proof of service and our first request for

             I also look forward to working with you on this interesting


Sincerely,



ANN BERRYHILL WITTE
Attorney at Law




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     Case 3:07-cv-01692-ST          Document 1      Filed 11/13/07       Page 11 of 13



                         IN THE CIRCUIT COURT OF THE STATE OF OREGON
                                        FOR MUL TNOMAH COUNTY
 2 SUMNER                                                No. 0710- 11790
             Plaintiff
     -vs-                                                           PROOF OF SERVICE
     SENVOY , LLC
          Defendant.
             , Gordon Sylstad , a competent person 18 years of age or older , resident of Oregon , and not a
     party to nor an officer , director, or employee of, nor attorney for any party, served a true copy of the
     Summons and complaint in this matter on Senvoy, LLC ,         the

     delivering said copies to Karly, the person apparently in charge of the office of David          , Agent
     for service of process on                                  , 2007 at 2:20 p. m.    at 1030

10 Portland , Oregon.

            I am informed an                                                                          , which
12                                      2007
            Dated: October 16 , 2007



                                                           Gordon Sylstad
                                                           812 SW Washington , #910
                                                           Portland , OR 97205




                                 ANN BERRYHILL WITTE, Attorney at
                                        812 SW Washington, #910
                                         Portland, Oregon 97205
                                                (503) 223-6066 EXHIBn
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             Case 3:07-cv-01692-ST        Document 1   Filed 11/13/07   Page 12 of 13



                                                               ANN BERRYHill WITTE ,   Attorney at law
                                                                          812 SW Washington , #910
                                                                                Portland , Or 97205
                                                                                     (503) 223-6066
                                                                                Fax: (503) 223-0903


October 16 , 2007




DAVID E GREIN, RA , SENVOY, LLC
 1030 SW MORRISON
    PORTLAND
              Re: Walters v. Senvoy LLC , Mult. Co. 0710- 11790

Dear Senvoy,

       Your registered agent was served , by office service given to Karly, with true copies of
the Summons and Complaint in the above-referenced matter on                        , 2007 at 2:20
pm.

              By this mailing, I complete service.

Sincerely,




ANN BERRYHILL WITTE
Attorney at Law




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                    Case 3:07-cv-01692-ST                  Document 1       Filed 11/13/07   Page 13 of 13



                                                        CERTIFICATE OF SERVICE

                    I hereby certify that the foregoing NOTICE OF REMOV

                   Ann Berryhill Witte
                   Attorney at Law
                   812 SW Washington # 910
                   Portland , OR 97205
                   Fax: (503) 223- 0903
                   E-mail: awitte(iV.ipns. com


       by the following indicated method or methods:

       -2L             by mailing  a full , true and correct copy thereof in a sealed , first- class postage- paid
                       envelope , and addressed to the attomey as shown above , to the last- known office
                       address of the attomey, and deposited with the United States Postal Service at Portland
                       Oregon on the date set forth below.

                       by faxing   a full , true and correct copy thereof, addressed to the attomey as shown
                       above , to the facsimile number of the attorney on the date set forth below.

                       by causing a full , true and correct copy thereof to be band- delivered to the attorney at
                       the attorney s last- known office address listed above on the date set forth below.

                       by sending a full , true and correct copy thereof via overnight courier in a sealed
                       prepaid envelope , addressed to the attomey as shown above , to the last- known office
                       address of the attorney, on the date set forth below.

                       by transmitting with electronic mail      a full , true and correct copy thereof to the
                       attorney at the e-mail address number shown above, which is the last- known e-mail
                       address for the attorney s office , on the date set forth below.


                       Dated this            I ~?:%ay of November , 2007.




                                                                   Jo
                                                                   E-
                                                                                   , OSB #92423
                                                                                     jparsons(iypfglaw.com
                                                                   Charles J. Paternoster , OSB #024186
                                                                     Mail: cpaternoster(fYpfglaw. com
                                                                   PARSONS FARNELL & GREIN , LLP
                                                                   1030 SW Morrison Street
                                                                   Portland , Oregon 97205
                                                                   Telephone: (503) 222- 1812
                                                                   Fax: (503) 274- 7979
                                                                   Of Attorneys for Defendant Senvoy, LLC




Page   1 - CERTIFICATE OF SERVICE
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